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          EXHIBIT 23
(REDACTED VERSION – CONDITIONALLY
               FILED UNDER SEAL)
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                     Subject: 19Q1 Black Friday Update
                       From: "SDM Exec Updates" <                                           >
                Received(Date):: Sat, 24 Nov 2018 21:25:47 +0000
                          To: "Tim Cook" <                      >, "Jeff Williams"
                                 <                     >,"Luca Maestri" <                    >
                          Cc: "Donal Conroy" <                               >,"Rob McDowell"
                                 <                       >,"Anish (WW SDM) Patel"
                                 <                  >,"Thomas Paine" <                   >,"Karen
                                 Starkweather" <                           >,"Mike Montgomery"
                                 <                                 >,"Anuj Saigal" <                >,
                                 "Janice Lin" <                      >,"Sabih Khan" <                >,
                                 "Saori Casey" <                   >,"Kevan Parekh" <                     >,
                                 "Doug Beck" <                   >,"Mike Fenger" <                  >,
                                 "Andy Allen" <                        >,"Ed Tharp" <                >,
                                 "Colin Greene" <                         >,"Vivek Thakkar"
                                 <                     >
                 Attachment: PastedGraphic-7.png
                 Attachment: Screen Shot 2018-11-23 at 5.12.25 PM.png
                 Attachment: Screen Shot 2018-11-24 at 10.31.57 AM.png
                        Date: Sat, 24 Nov 2018 21:25:47 +0000

               Tim, Jeff, Luca,

               Please see the Black Friday update below. The week 8 trends are based on Apple
               Direct channels and Reseller reported trends from 7 key US/ UK accounts (Best Buy,
               Walmart, Target, Amazon (US), John Lewis, Argos, and DSG). For non-iPhone, this
               represents 40-60% of the business.

               On Monday, we will send Flash sell thru update for complete week 8 WW results and
               any implications/ ranges to the quarter.

               Black Friday - Week 8 Trends (Direct as of Sat 8am PST, Reseller as of Fri 12pm
               PST)

               - Week 8 trends vs. plan for WW Apple Direct + 7 select partners in the US/ UK:

                    - iPhone +9% to plan (including Telcos), and -17% y/y. (However, GC is
               performing below plan post 11/11, so WW UB trend is close to plan overall.)

                      - iPad -3% to plan, and +22% y/y

                      - Mac -11% to plan, and -5% y/y

                      - Watch +7% to plan, and +52% y/y




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                      - iPod -11% to plan, and -34% y/y

               - Apple TV -16% to plan, and +6% y/y

                      - Beats -29% to plan, and -31% y/y

                      - Accessories (ex-Beats, ATV) -20% and +4% y/y

                      - AirPods -40%, and +113% y/y

                      - HomePod +96% (Best Buy 32k ST trend vs 10k plan)

               Direct Summary:

               Online and Retail are trending -18% to -4% below plan on the 4 hero LOBs, but we will
               continue to monitor thru the end of the promo on Monday. This is the first year with a 4-
               day promo.

               - Direct y/y trends are: iPhone -33% y/y, iPad 17% y/y, Mac 16% y/y, and Watch 55%
               y/y.

               - No quotes were pushed as a result of Black Friday demand. Quotes expected to
               remain at goal, except where already extended (iPad Pro 10/13 NPI, Watch Series 4).

               - Retail Service Level expected to remain at goal through the weekend for all products
               except the below (which entered Black Friday in these ranges):

               - iPad Pro (New) @40-60%

               - MacBook Air @ 90-100%

               - Watch Series 4 @60-80%

               - Accy Xs/Xs Max Cases @75-85%

               - Accy NPI 13” KB @10-20%

               - AirPods Retail Stores ST trend is 146k vs 360k plan. We had an aggressive plan
               (significantly higher than Retail Finance forecast) that assumed a high attach rate for
               customers redeeming gift cards following a hero purchase and also assumed channel
               shift due to constraints.

               US Reseller Summary:

               Black Friday is off to an encouraging start with strong performance across Watch,
               iPad, pre-paid iPhone and post-paid iPhone across the carriers. Mac and post-paid




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               iPhone at national retail are currently trending down YoY.

               Partners reported traffic was up year over year - both the lines outside stores at opening
               as well as the ongoing traffic throughout the day. Best Buy, Costco, Walmart, Target and
               Verizon all citing YoY traffic increases.

               Target first “leaked” their promotions on 11/01 which was five days earlier than last year,
               with other partners following suit by 11/8. Best Buy launched its first-ever Wednesday
               evening promotion at 9pm on 11/21, and Walmart offers were active online at 10pm ET
               on 11/21. All partners had Black Friday deals available online for Thanksgiving from as
               early as 12:01 am on 11/22.

               With their launch of iPad and Watch, Amazon immediately price matched the strongest
               offers in the market by going $80 off on the iPad 6th Generation and $80 off Watch S3
               GPS as early as 5pm on Wednesday. They also continued their focus on accessories by
               being prominently featured in the buy box to drive high attach.

               Within the broader US retail market, online sales are expected to grow 14.8% vs 4.5%
               combined overall, with 44% of Consumers saying they prefer to do their holiday
               shopping online on peak days like Black Friday and Cyber Monday (Source: Adobe
               Analytics 2018 Holiday Predictions Report). Analysts expect holiday will also be
               boosted this year by an additional day, with 28 days between Cyber Monday and
               Christmas versus 27 days last year.

               US Reseller Demand Trends:

               iPhone performance was strong across the US channel with unbrickings up +17%
               YoY. Verizon led the postpaid market with an aggressive $400-off offer on iPhone X


               next week. AT&T and Sprint continued their “Buy one of our latest iPhones, get an
               iPhone XR free” promotions and T-Mobile continued their “Get an iPhone XR on us”
               promotion - all three were performing as expected with customers taking advantage of
               the offers as part of Black Friday store traffic.




               iPad top three accounts are trending to 877K units, +19% YoY, which is -55K
               below forecast. The miss was driven by lower than expected 6th Gen (-123K) as the
               expected run rate lifts have been softer relative to 5th Gen last year. Promotional offers
               were similar to PY, with Best Buy, Target, Amazon, Costco, Walmart each offering iPad
               6th Gen. at $80 off ($249). This was partially offset by the strong iPad mini 4 (+78K vs
               fcst) driven by stronger promotions where both Best Buy and Target competed with




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               $150 off mini 4 offers.




               Mac is tracking to 90K units, -26% YoY, which is -25K below forecast. The softer
               performance is driven by the new MacBook Air (-12K) potentially due to Best Buy not
               offering promotional discounts. The MacBook Pro 13 non-TB is also tracking below
               expectations (-8K).

               - Best Buy offers on sustaining products were slightly lower than previous years with
               $150-$250 off this year, versus $200-$250 last year. Key price points were maintained,
               with $200 off MacBook Air ($799), but they leaned out of the entry level MacBook Pro by
               $50. From a Direct channel perspective, Apple Retail is offering a $200 gift card on Mac
               compared to $150 PY.

                  Watch top three accounts are tracking to 416K units, +44% YoY, which is +25K
               above forecast.
                                                                  Target’s strong performance is
               driven by their aggressive offer with $80 off Watch S3 GPS ($199). This compares to
               an opening price point of $179 for Watch S1 in the PY.




               UK Reseller Demand Trends:



               DSG=Tuesday, Argos=Wednesday). Driving additional 20k SI across all partners to
               support. No feedback from Amazon yet.




               Additional US Channel Commentary
               Partner sentiment




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